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                                                                               Court File No.: 09-CL-7950

                                                     ONTARIO
                                   SUPERIOR COURT GF JUSTICE
                                         (Commercial List}


       IN THE MATTER QF THE COAfPANIES'REDITORS                   ARRANGEMENT
                              ACT, R.S.C. 1985, c. c-36, AS AMENDED

                  AND IN THE MATTER OF A PLAN OF COMPROMISE GR
       ARRANGEMENT GF NGRTEL NETWORKS CORPORATION, NGRTEL
      NETWORKS LIMITED, NORTEL NETWORKS GLOBAL CORPORATION,
      NGRTEL NETWORKS INTERNATIONAL CORPORATION and NGRTEL
                NETWORKS TECHNOLOGY CORPORATION

                   APPLICATIGN UNDER THE COMPANIES'REDITORS
                  ARRANGEMENT ACT, R.S.C. 1985, c, C-36, AS AMENDED




                  I,    Fara Tabatabai,       of the City of New York,          in   the State of New York,

United States of America, MAKE GATH AND SAY:


                  I    am admitted        to practise law    in   the State of New York, and         I   am an

associate    in   the law firm of Hughes              Hubbard      8 Reed, LLP, lawyers        for the court-

appointed     Joint Administrators             and    authorized     foreign     representatives    of Nortel

Networks    UK Limited ("NNUK"} and its affiliates in the region known                    as Europe, Middle

East, and Africa ("EMEA"}, collectively known as the "EMEA Debtors".


                  I    swear this affidavit   in support    of a motion brought by Nortel Networks Inc.

and certain of its affiliates        in   U.S. Chapter 11 bankruptcy           proceedings   (collectiveiy, the

"US Debtors" ) pursuant to the terms of the Discovery Plan (as approved                        by the Ontario

Court on May 15, 2013, and as amended                    by the Gntario Court on November           19, 2013)
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and the Deposition Protocol (as approved by the Ontario Court on August 27, 2013, and

as amended          by the Ontario Court on September 20, 2013 and November                            19, 2013'} for

an Order to vary the Discovery                Plan and Deposition                Protocol to dispense           with   the

currently    contemplated         representative    party depositions/examinations                  under Rule 31 of

the Ontario Rules of'ivil Procedure                ("Representative             Depositions" ), True copies of

the following are attached as Exhibits hereto; the Discovery Plan is attached as Exhibit

"A"; the November              19, 2013 Order amending                the Discovery          Plan and       Deposition

Protocol is attached as Exhibit "B"; the Deposition                     Protocol is attached as Exhibit "C";

the September 20 Order amending                the Discovery Plan is attached as Exhibit "D".


                    ln my role    as lawyer for the Joint Administrators,               I   have knowledge         of the

matters referred to in this affidavit.             Unless otherwise            indicated, the facts contained            in


this affidavit are within          my own knowledge.             Where the facts are not within my own

knowledge,      I   identify the source of my information             and/or belief.


                    Capitalized     terms used      in   this Affidavit        but not otherwise      defined      herein

shall have the meanings            given to them      in the   Discovery Plan and Deposition Protocol.


        A.          Background

                    The      Deposition    Protocol       initially   contemplated          that    pre-trial    witness

examinations         would     occur in two stages         with depositions          of fact witnesses          occurring

first, followed      by the Representative          Depositions.          In   order to arrive at the list of fact

witnesses      to be deposed,          each Core Party was given the opportunity                         to designate

witnesses      they believed         to have relevant          knowledge         based on documents              or other


1
        See Exhibit "8" attached hereto.
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information     available to them.        initially,    113 witnesses were designated as deponents.
After further negotiations,       the parties agreed to de-designate                  certain witnesses and add

others, resulting     in a list of 103 witnesses           to be deposed.          In addition,   the parties served

subpoenas       and filed fetters rogatory applications                to compel the depositions             of certain

third party    witnesses (i.e. witnesses not currently or formerly employed by Nortel or any

of the parties), resulting      in another     seven depositions.


                  Following     the completion         of the fact witness depositions,               each Deposition

Group was entitled to seek Representative                       Witness testimony from the other parties, but

only to the extent that fact witness                 testimony       had not addressed            a relevant subject.

Accordingly,      under      the Deposition      Protocol, each Deposition                 Group was entitled           to

serve "a very limited number of subjects on which                      it believes    no fact witness currently or

formerly associated with the party producing                       the Representative       Witness has provided

adequate        first-hand     testimony."           The        Deposition    Protocol      further     provides      that

"I'p]rovided     such     subjects     are small           in     number     and     reasonable        in   scope,     the

Representative       Witness has a duty to prepare to testify on the designated                         subjects."


        B.        The Depositions Conducted To Date

7.                As described        above,    in     order to arrive at the list of fact witnesses                 to be

deposed,       each Core Party was given the opportunity                           to designate        witnesses      they

believed to have relevant knowledge                  based on documents or other information available

to them.       Of the fact witnesses identified by the parties, approximately                         99'!o of all of the

former Nortel employees,             officers, directors and others that. the Core Parties sought to



        See Exhibit "C", Deposition Protocol at para. G(1)(a).
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depose ultimately        testified.       These witnesses       included       one of Nortel's       former Chief

Executive Officers, several Chief Financial Officers, and numerous                          Treasurers, general

counsels, senior executives              in   the tax and treasury departments,              present and former

directors of various Nortel affiliates, senior intellectual                  property     lawyers,   mergers and

acquisitions   executives, pension trustees and many others.


                 In total,   since the depositions         in connection      with   these proceedings began

in   late September,     over 100 individuals           have been deposed            in   more than 15 cities on

three continents at significant cost to all parties.


                 With     respect        to the       EMEA    entities      specifically,    39 former        EMEA

employees,     directors and officers were deposed                  in   connection with these proceedings,

a complete      list of whom            (along with their respective           roles) is attached         hereto   as

Schedule "A". Former EMEA personnel deposed included a number of senior officers,

such as Kishor Badiani,                EMEA Director of Taxes (1997-2002), Simon                      Freemantle,

Director of Treasury          Operations        for Europe (2000-present),            Timothy    Watkins,     EMEA

Vice President,         Sales and Marketing              (1993-2008) and Christian               Waida,     General

Counsel at different times for a number of EMEA entities including                          NN   Germany (2004),

NNUK     (2005-2006), NNUK (Germany) (2007-2008) and Central Region, israel 8 Turkey

(2001-2004). The parties also deposed Ryan Smith and Graham                                      Richardson    who,

while not EMEA employees,                were seconded by NNL or NNI to the EMEA region.


                 ln   many,      if    not most,      of the 41 depositions          of EMEA personnel,            the

Canadian       Debtors     and        Monitor   did   not utilize    all   of the time allotted       to them      for

questioning.
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                     In    addition     to these 41 individuals,       two      of the court-appointed       Joint

Administrators            for the EMEA Debtors were also deposed: (i) Alan Bloom, partner                   in the


restructuring        practice at Ernst 8 Young UK; and (ii) Chris               Hill,   Executive Director of the

Ernst 8 Young Ltd. local office in the British Virgin Islands (formerly also of Ernst 8

Young UK).'                true copy of the relevant portion of the transcript               of the deposition    of

Alan Bloom taken on December 5, 2013 is attached                         hereto as Exhibit "E" and a true

copy of the transcript of'he deposition of Christopher                   Hill   taken on December 17, 2013

is attached hereto as Exhibit "F",


                     The Canadian          Discovery Group examined             Mr. Bloom for approximately

three hours and Mr. Hill for approximately               two hours, but asked virtually no questions             on

any of the EMEA claims, despite the fact that either Mr, Bloom or Mr. Hill had personally

signed nearly every Proof of Claim filed on behalf of the EMEA Debtors.'nstead,                                  the

Canadian        Discovery Group chose to examine Mr, Bloom and Mr. Hill primarily                           on the

relationships        among the various Ernst 8 Young entities around the globe. In the case of

Mr. Hill, at the time         of his deposition, the EMEA and US Discovery Groups had already

advised     that they intended            to challenge    the need for the Representative              Deposition

process.        If   the Canadian           Discovery    Group     believed     that they      had   not obtained

adequate fact witness testimony                 on the Proofs of Claim,         it   was incumbent     on them to

ask outstanding             questions     of the individuals     who signed          the Proofs of Claim,    Their




          In addition, the parties deposed Cosrne Rogeau, the Liquidator for Nortel Networks SA in respect
          of insolvency proceedings occurring in France.
          See Exhibits "D" and "E".
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decision      not to do so should           not be a basis for requiring          Representative      Witness

depositions.


         C.      The Representative           Examinations        Proposed by the Canadian Debtors

                 On December             11, 2013, the EMEA Debtors and the US Debtors sought
consent from        all    Core Parties to dispense with the Representative               Depositions    as a

result     of the         comprehensive      fact witness        depositions     that   had   taken     place.

Unfortunately,      the Canadian Discovery Group would not consent to this request,


                 On December             13, 2013, the Discovery Groups each served lists of the

topics on which they intended               to seek Representative        Witness testimony         (and upon

which    they requested           that the Representative        Witnesses     inform   themselves    and be

prepared to testify).           In the   case of the EMEA Discovery Group and the US Discovery

Group,     these lists were served strictly without                prejudice    to their position     that the

Representative        Depositions were not necessary.             The EMEA Discovery Group and US

Discovery Group together served,               in   aggregate combined total, 16 topics comprising 4

pages. True copies of the lists of topics served by the EMEA Discovery Group and US

Discovery Group are attached hereto as Exhibits "G" and "H", respectively.


                 Notwithstanding          the requirement    in the   Deposition Protocol that the topics

be "very limited"         in   number and "reasonable       in   scope", the Canadian Discovery Group

served a total of 651 topics comprising               101 pages. Of these, 567 topics comprising 92

pages are specifically directed at Representative                 Witnesses for the EMEA Debtors.            A




         The Canadian Discovery Group supplemented          their list on December 15 and again on December
         17.
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true copy of the list of topics served by the Canadian                                             Discovery Group is attached

hereto as Exhibit "I".


                 Not   only     are the topics served                   by the                     Canadian   Discovery    Group

numerous,     but they are also extremely broad and unreasonable                                        in scope.   The following

are examples       of the types of all-encompassing                          topics that the Canadian                  Discovery

Group   have included          in their   list of 651 topics                         (and which they seek to have the

Representative      Witnesses inform themselves on):


        (a)      The facts and     documents demonstrating  Nortel's processes for the
                 identification and development of products, as they varied over time
                 before and after January 14,                2009,'b)




                 The facts and documents that form the basis for any claims for resulting
                 trust, constructive trust or any other claims for proprietary estoppel or
                 equitable claims and that disclose the basis for any equitable or
                 proprietary     claim being   pursued,'c)




                 The facts that demonstrate that a particular financial or accounting
                 practice was unfair to that the party [sic] and the basis on which jNNUK]
                 claims to have been unable to represent itself and its interests in respect
                 of the practice, or that would be indicative of any deficiencies with respect
                 to the party's financial statements or                 audits,'d)




                 The factual and documentary basis for and calculation of the amount of
                 any claims relating to the allocation of proceeds or any other aspect of
                 past dispositions of businesses including the following noted in the
                 particulars of the proofs of claims: sales to AASTRA, Andrew, Bookham,
                 Breconridge, Metasolv, STM (and any
                                                                                     others),'ee




              Exhibit "I", "Subjects for NNUK Representative            Witness", at para, 4.

        See Exhibit "I", "Subjects for NNUK Representative Witness", at para. 27,
        See Exhibit "I", "Subjects for NNUK Representative Witness", at para, "l5,
        See Exhibit "I", "Subjects for NNUK Representative Witness", at para, 20,
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         (e)        The scope and use of third-party products and components used or
                    embodied in Nortel products and the marketing of third party Original
                    Equipment Manufacturer products by Nortel."

         (f)        The factual and documentary basis for any claim that jNNUK] did not get
                    appropriate credit for customer revenues, the details of which customers,
                    the dates and amounts of associated revenues claimed, which other entity
                    received the claimed revenues and the basis for adjusting for these
                    revenues outside of the transfer pricing arrangements."

17.                 These topics, together      with   the other topics the Canadian           Discovery

Group served on the EMEA Debtors, cover nearly every fact and document at issue                         in


this litigation.


18.                 Notwithstanding    the unreasonably       broad scope of their own topics under

the Deposition Protocol, the Canadian           Debtors and Monitor objected to each of the five

topics that the EMEA Discovery Group served on them, asserting, among other things,

that the topics were improper            to the extent that they called for information           already

available in fact witness testimony          or through the documents           produced to date. A true

copy of the Canadian            Debtors and Monitor's notice of objection is attached as Exhibit

"J" hereto.

                    To prepare properly to respond to the sheer volume and unreasonably

broad nature of the questions            posed by Canada would require a massive amount of

effort at enormous          expense, running into the millions of dollars.         This task could not be

undertaken         in   the short period of time allotted for the task, and even with significant

additional time it would be impossible to answer the vast majority of the questions given




         See Exhibit "I", "Subjects for NNUK Representative    Witness*', at para, 6,

         See Exhibit "i", "Subjects for NNUK Representative Witness", at para, 13.
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their breadth.     Moreover,    it is unlikely      that the Representative     Depositions would result

in the discovery    of any new information           that was not already available to the parties as a

result of the more than 100 depositions               conducted to date or through the production            of

more than two million documents.


20.              Finally,   the parties       are currently     negotiating    a trial protocol      which   is

expected to include the pre-trial exchange of each party's evidence                     in    chief, including

fact witnesses,     through    affidavits,       exhibit lists, deposition    designations,      and pre-trial

briefs.   As a result, each party      will      know well in advance of trial all evidence on which

every other party intends to rely.                Given this pre-trial   exchange of evidence and the

extensive fact discovery already conducted to date, Representative                    Depositions are not

necessary    and cannot        be justified       in light   of the enormous     expense that would be

required to prepare for and conduct them.


SWORN BEFORE ME at                           )
the City of New York,
in the State of New York
this/Way of January, 2014
                                                       FARA T@3ATABAI
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                                  SCHEDULE "A"

                             LIST OF EMEA DEPONENTS


1   Philippe Albert-Lebrun        Manager Treasury Operations (NNSA), 1/1/1999—
                                  7/31/2001
                                  Treasury Professional Services Europe (NNSA),
                                  8/1/2001 —11/30/2003
                                  Director, Finance 8 Control (NNSA), 12/1/2003—
                                  12/13/2003
                                  Finance —Treasury (NNUK), 12/1/2003 —6/30/2008
                                  Financial Results Accounting (NNUK), 7/1/2008—
                                  3/30/2011
                                  Non Payroll Worker (NNUK), 4/1/2011 —2/29/2012
2   Angela Anderson,              Corporate and Legal Services (NNUK), 1/31/2005—
                                  1/1/2005
                                  Director of Intellectual Property (NNUK), 1/31/2000
                                  —1/1/2005
3   Kishor Badiani                EMEA Director of Taxes (NNUK), 5/2/1997—
                                  5/21/2002
4   lan Barton                    Tax Leader (NNUK)
                                  Director (NNUK), 2/25/2000 —2/26/2001
                                  Director (NNOCL), 6/23/2000 —2/28/2001
5   Alan Bloom                    Joint Administrator for the EMEA Debtors
6   Simon Brueckheimer            Engineer/Scientist (NNUK), 5/2/1997 —5/31/2000
                                  Director Succession Strategic Technology (NNUK),
                                  6/1/2000 —4/30/2002
                                  Sales Engineer (NNUK), 5/1/2002 —6/30/2004
                                  Sales Tech Sales Support (NNUK), 7/1/2004—
                                  12/18/2009
7   Michel Clement                Director (NNSA), 11/30/2000 —3/31/2010
                                  Director (NN Italy), 6/28/2007 —3/30/2010
                                  Director (NN Spain), 1/14/2009 —3/30/2010
                                  Director (NN France S.A.S.), 10/18/2002—
                                  3/31/2010
                                  Director (NN South Africa), 1/8/2006 —1/14/2009
8   Malcolm Collins               Executive Senior Management (NNUK), 8/20/1998
                                  —8/21/2001
                                  Leadership (NNUK), 8/22/2001 —4/7/2002
                                  Business Management —MAVP/RVP (NNUK),
                                  4/8/2002 —1/5/2003
                                  Business Management —Officer (NNUK), 1/6/2003
                                  —12/30/2005
9   Pascal Debon                  Group Vice President (Northern Telecom Inc.),
                                  2/16/1 999 —4/7/2002
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                            Director (Nortel Networks France S.A.S.), 5/5/2000
                            —12/25/2001
                            Leadership (Northern Telecom Inc.), 3/1/2001—
                            4/7/2002
                            Director (NNSA), 3/11/2002 —2/20/2006
                            Business Management —Officer (Northern Telecom
                            Inc.), 4/8/2002 —12/23/2005
10   Darryl Edwards         Account Director, Energis (NNUK), 1/5/1999—
                            3/14/2000
                            CEO Nortel Networks Israel (NNUK), 3/15/2000—
                            4/20/2001
                            Leadership (NNUK), 8/22/2001 —4/7/2002
                            Director (Nortel GmbH), 1/2/2002 —4/1/2003
                            Sales Management (NNUK), 4/8/2002 —8/2/2002
                            Business Management —Officer (NNUK), 8/1/2006
                            —9/30/2009
                            Director (NNSA), 9/28/2006 —1/14/2009
                            Director (Northern Telecom France SA), 1/14/2009
                            —present
11   Terrence Faulkner      Director, Pensions 8 Benefits (NNUK), 4/1/1999—
                            3/31/2001
12   Ken Fox                Software Team Leader (NN Ireland), 10/11/1 999—
                            7/24/2000
                            Software Development Manager (NN Ireland),
                            7/25/2000 —5/31/2002
                            Tech R8 D Software Research, Design &
                            Development (NNI), 6/I/2002 —8/19/2003
                            IT Software Development (NN Ireland), 8/20/2003—
                            12/18/2009
13 Margaret Fraser          Senior Manager, Treasury Operations —EMEA
                            (NNUK), 8/24/1 998 —present
14   Simon Freemantle       Director, Treasury Operations —Europe (NNUK),
                            10/1 6/2000 —present
                            Director (Nortel Networks International Finance 8
                            Holding B.V.), 4/30/2004 —present
                            Director (NN Ireland), 8/26/2006 —present
                            Director (NNUK), 3/31/2007 —present
                            Director (Northern Telecom PCN Limited),
                            12/16/2008 —present
                            Director (Nortel Networks Optical Components
                            Limited), 12/17/2008 —present
                            Director (Northern Telecom France SA), 1/14/2009
                            —7/21/2010
                            Director (NN SA), 1/14/2009 —present
                            Director (Nortel Networks NV), 1/14/2009 —present
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                                   Director (Nortel Networks S.p.A), I/14/2009—
                                   present
                                   Director (Nortel Networks BV), I/14/2009 —present
                                   Director (Nortel Networks Polska Sp z.o.o.),
                                   I/I 4/2009 —present
                                   Director (Nortel Networks Hispania, SA), I/14/2009
                                   —present
                                   Director (Nortel Networks (Austria) GmbH),
                                   I /I 4/2009 —present
                                   Director (Nortel Networks s.r.o.), I/14/2009—
                                   present
                                   Director (Nortel Networks Engineering Service Kft),
                                   I/14/2009 —present
                                   Director (Nortel Networks Portugal SA), I/14/2009—
                                   present
                                   Director (Nortel Networks Slovensko, s.r.o.),
                                   I /I 4/2009 —present
                                   Director (Nortel Networks Romania SRL),
                                   I /14/2009 —present
                                   Director (Nortel GmbH), I/14/2009 —present
                                   Director (Nortel Networks OY), I/14/2009 —present
                                   Director (Nortel Networks AB), I/14/2009 —present
                                   Director (Nortel Networks AS), I/14/2009 —present
                                   Director (Nortel Networks South Africa (Proprietary)
                                   Limited), I /I 4/2009 —present
                                   Director (Nortel Networks AG), I/14/2009 —present
15   Dara Gill                     Corporate Counsel, 02/2002 —01/2009
I6   Rob Haitsma                   Northern Region Controller, 2002 —2012
                                   Senior Finance Manager Marketing 8 Pricing
                                   (NNSA), 2000 —2002
                                   Finance Function Management     (NN Holland),
                                   10/I/2001 —unknown
                                   Chef Comptable (NN Holland),   I/I/2000—
                                   9/30/2001
                                   Director (NNI F), 9/I /2001 —I /I 4/2009
                                   Director (NN Holland), 12/11/2001 —I/14/2009
                                   Director (NN Finland), 2/5/2003 —I /14/2009
                                   Director (NN Sweden), 2/28/2003 —I/I 4/2009
17   Geoffrey Hall                 Vice President, Public Networks Development
                                   (NNUK), 2/I /1999 —4/20/2001
                                   Leadership (NNUK), 8/22/2001 —4/7/2002
                                   Research 8 Development Management (NNUK),
                                   4/8/2002 —12/31/2008
18   Lorraine Harper (Srneaton)    Senior Tax Manager EMEA (NNUK), 7/9/2007—
                                   11/27/2009
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                             Leader, EMEA Tax (NNUK), 4/1/2008 —11/27/2009
19 John Hem                  Software Architect (NNUK), 2000 —2004
                             Futures and Innovation Architect (NNUK), 2004—
                             2006
                             Services Practice Leader, Professional Services
                             (NNUK), 2006 —2009
20   Chris Hill              Joint Administrator for the EMEA Debtors
21   Andrew Jeffries         Department Manager, R8 D (NNUK), 1997 —2005
                             Senior Manager, R8 D (NNUK), 2005 —2009
22   Jean-Marie Lesur        Directeur, Financier D'Activite (NNSA), 2/1/2000—
                             12/13/2002
                             Financial Planning 8 Analysis (NNSA), 2/1/2000—
                             7/31/2009
                             Director (Northern Telecom France SA), 10/31/2005
                             —1/1 4/2009
                             Director (NNSA), 12/19/2006 —1/14/2009
23   Geoff Lloyd             Vice President, HR-CSE (NNUK), 4/1/1999—
                             1/31/2000
                             Vice President, HR Service Provider Carrier Group
                             (NNUK), 2/1/2000 —4/20/2001
                             Leadership (NNUK), 8/22/2001 —4/7/2002
                             Director (NNUK), 2/1/2002 —3/17/2006
                             Vice President, HR EMEA (NNUK), 4/8/2002—
                             3/17/2006
24   Hitesh Mehta            Director, Business Operations 8 Corporate
                              Marketing (EMEA), 01/2002 —11/2003
                             Commercial Director Vodafone Global Account
                             (NNUK),   11/2003 —11/2004
                             Director, Corporate Strategy & Development
                             (NNUK), 12/2004 —05/2008
25   lain Morgan             Corporate Services, Business Management
                             (NNUK)    (2000-2004)
                             Director (NNUK), 5/5/2000 —4/30/2004
                             Director (NNSA), 5/28/1 997 —4/30/2004
                             Director (NNIF), 11/1/1 987 —4/30/2004
                             Director (NN Switzerland), 7/29/2002 —4/3/2004
                             Director (NNOCL), 11/25/1998 —6/23/2000
                             Director (NT France), 11/27/2001 —4/30/2004
                             Director (NT PCN), 11/1 0/1998 —4/30/2004
26   Peter Newcombe          Vice President Alternate Operators (NNUK),
                             1/1/2000 —4/20/2001
                             Leadership (NNUK), 8/22/2001 —4/7/2002
                             Sales Management / Leader, Carrier (NNUK),
                             4/8/2002 —3/19/2010
27   Gareth Pugh             Finance Director, Major CS Accounts (NNUK),
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                             4/1/1 999 —2/14/2000
                             Vice President Finance, Europe (NNUK), 2/1 5/2000
                             —4/20/2001
                             Leadership (NNUK), 8/22/2001 —4/7/2002
                             Director (Nortel Networks B.V.), 12/11/2001—
                             12/16/2005
                             Director (Nortel Networks OY), 12/31/2001—
                             12/16/2005
                             Director (Nortel Networks Hispania, SA), 1/8/2002—
                             1/1 2/2006
                             Director (Nortel Networks S.p.A), 3/1 2/2002—
                             4/26/2006
                             Regional Financial Business Partner (EMEA
                             Controller) (NNUK), 4/8/2002 —12/1 7/2005
                             Director (Nortel Networks AB), 4/26/2002—
                             12/16/2005
                             Director (NNUK), 1/1 7/2003 —12/1 6/2005
                             Director (NN Ireland), 3/28/2003 —12/16/2005
28   Steve Pusey             President, Cable Media Solutions (NNUK),
                             10/1/1 999 —4/20/2001
                             Leadership (NNUK), 8/22/2001 —4/7/2002
                             Director (Nortel Networks France S.A.S.),
                             10/25/2001 —10/19/2002
                             Executive VP, President of Eurasia (NNL), 2001—
                             2005
                             Business Management      —Officer (NNUK), 4/8/2002
                             —8/31/2006
                             Director (NNSA), 2/20/2006 —10/4/2006
29   Nigel   Rees            Director of Product Management for Switch
                             Remotes (NNUK)
                             Assistant Vice President of International   Switching
                             (NNUK)
30   Cosme Rogeau            French Liquidator (NNSA)
31   Sharon Rolston          Senior Manager Bio Finance, EMEA (NNUK),
                             1/1 /2000 —3/31/2000
                             Director of Finance, UK AO's (NNUK), 4/1/2000—
                             11/30/2004
                             Finance Project Manager (NNUK), 4/1/2000—
                             11/30/2004
                             Financial Planning 8 Analysis (Northern Region
                             Finance Director) (NNUK), 12/1/2004 —11/30/2005
                             Financial Planning 8 Results (EMEA Controller)
                             (NNUK), 12/1/2005 —2/19/2006
                             Regional Financial Business Partner (Vice
                             President, Finance, EMEA) (NNUK), 2/20/2006—
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                                                                                                        12/31/2008
                                                                                                        Director (NNUK), 4/1/2006 —9/30/2010
                                                                                                        Director (Nortel Networks OY), 8/15/2006—
                                                                                                        9/30/201 0
                                                                                                        Director (NN Ireland), 8/28/2006 —9/30/2010
                                                                                                        Director (Nortel Networks Hispania, SA), 3/21/2007
                                                                                                        —9/30/201 0
                                                                                                        Director (Nortel Networks S.p.A), 6/28/2007—
                                                                                                        9/27/2010
                                                                                                        Director (Northern Telecorn PCN imited),                   I


                                                                                                        12/16/2008 —9/30/2010
                                                                                                        Business Planning 8 Analysis (Finance, Vice
                                                                                                        President, Global Carrier Sales) (NNUK), 1/1/2009
                                                                                                        —9/30/2010
                                                                                                        Director (Nortel Networks NV), 1/14/2009—
                                                                                                        9/30/2010
                                                                                                        Director (Nortel Networks B.V.), 1/14/2009—
                                                                                                        9/30/201 0
                                                                                                        Director (Nortel Networks Polska Sp z.o.o.),
                                                                                                        1/14/2009 —9/30/201 0
                                                                                                        Director (Nortel Networks Engineering Service Kft),
                                                                                                        1/14/2009 —9/30/201 0
                                                                                                        Director (Nortel GmbH), 1/14/2009 —9/30/2010
                                                                                                        Director (Nortel Networks AB), 1/14/2009—
                                                                                                        9/30/201 0
                                                                                                        Director (Nortel Networks International Finance 8
                                                                                                        Holding                 B.V.), 1/14/2009 —9/30/2010
                                                                                                         Director (Nortel Networks South Africa (Proprietary)
                                                                                                         Limited), 1/14/2009 —9/30/2010
                                                                                                         Director (Nortel Networks AG), 1/1 4/2009—
                                                                                                        9/30/201 0
                                                                                                        Director (Nortel Networks AS), 1/14/2009—
                                                                                                         10/14/2010
                                                                                                         Director (Nortel Networks s.r.o.), 1/1 4/2009—
                                                                                                         11/15/201 0
                                                                                                         Director (Nortel Networks Slovensko, s.r.o.),
                                                                                                         1/14/2009 —11/15/2010
                                                                                                         Director (Nortel Networks (Austria) GmbH),
                                                                                                        1/14/2009 —11/17/2010
                                                                                                        Director (NNSA), 1/14/2009 —11/1 5/2010
                                                                                                        Director (Nortel Networks Romania SRL),
                                                                                                        1/14/2009 —11/1 5/2010
                                                                                                        Director (Northern Telecom France SA), 1/14/2009
                                                                                                        —11/15/2010
                                                                                                        Director (Nortel Networks Portugal SA), 11/1 4/2009
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                             —10/18/2010
32   Simon Schofield         Senior Tax Manager (NNUK), 6/2/2003 —5/8/2006
33   Gerard Staunton         Financial Technical Accounting, Director
                             Accounting & Control Europe (NNUK), 8/24/1998—
                             11/30/2004
                             Financial Function Management (NNUK), 8/24/1998
                             —11/30/2004
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                             Financial Results Accounting (NNUK), 8/24/1998—
                             11/30/2005
                             Financial Planning & Results (UK Only) (NNUK),
                             12/1/2005
                             EMEA Controller (NN Ireland), 1/14/2009 —present
     Kerry Stephens          Senior Tax Manager (NNUK), 7/2/2003 —present
35   lan Stevenson           Financial Planning & Results (UK Only) (NNUK),
                             9/1/1 982 —unknown date
                             Director (NN Italy), 9/22/2004 —6/28/2007
                             Director (NN Poland), 3/27/2001 —1/14/2009
36   Christian Waida         General Counsel, EMEA, Nortel Networks
                             Germany GmbH & Co KG, GERMANY (2004)
                             General Counsel - EMEA, Nortel Networks
                             UK Limited, UNITED KINGDOM     (2005-2006)
                             General Counsel, EMEA, Nortel Networks
                             UK Limited, GERMANY (2007-2008)
                             General Counsel Central Region, Israel & Turkey
                             12/2001 —10/2004
                             General Counsel (EMEA) 10/2004 —12/2008
                             Nortel Dasa Networks Systems GmbH —Legal
                             Counsel 05/1998 —03/2001
                             NN Germany GmbH - Senior Counsel, 3/2001—
                             10/2001
37   Timothy Watkins         Vice President, Sales and Marketing (EMEA), 1993
                             —2008
38   lan Widdowson           Finance —Tax (NNUK), 6/25/2001 —6/30/2007
39   Lieve Willekens         Financial Controller (NN Belgium), 05/1995—
                             05/2011
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IN THE MATTER   OF THE COMPAN/ES'REDITORS   ARRANGEMENT
ACT, R.S.C. 1985, c. C-36, AS AMENDED
                                                                                               Court File No. 09-CL-7950
AND IN THE MATTER OF A PLAN OF COMPROMISE OR
ARRANGEMENT OF NORTEL NETWORKS CORPORATION, et al.

                                                                                       QNTARIQ
                                                                          SUPERIOR COURT OF JUSTICE
                                                                                (Commercial List)

                                                                          Proceeding commenced at Toronto




                                                                                    AFFIDAVIT GF
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                                                                              (sworn January,          2014)

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                                                                Debtors
